                       Case 1:21-cr-00224-TSC Document 1 Filed 01/25/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                    Kenneth Grayson                                  )      Case No.
                                                                     )
                                                                     )
                                                                     )
         'DWHRI%LUWK;;;;;;;;                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. § 1752(a)(1)- Knowingly Entering or Remaining in any Restricted Building or Grounds
             18 U.S.C. § 1752(a)(2)- Disorderly Conduct Which Impedes the Conduct of Government Business
             40 U.S.C. § 5104(e)(2)(D)- Disruptive Conduct in the Capitol Buildings
             40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in the Capitol Buildings
             18 U.S.C. § 1512(c)(2)- Obstructing or Impeding Any Official Proceeding

         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Mark Brundage, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                             2021.01.25
Date:             01/25/2021
                                                                                                             22:00:46 -05'00'
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                          Zia M. Faruqui, U.S. Magistrate Judge
                                                                                               Printed name and title
